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                                                                                  Nov ,~ ,u,,
                           822 County Road 411
                           Pecos, TX 79772
                                                                           ATB:30
                           Davemarcellus17@gmail.com
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      10/06/2022                                                       NOV 1 li      -,   ·

                                                                ATB:30
      To                                                           WIL-:--:LIA-:-M-T-.W-~-
                                                                                        EiH"M
      The United States District Court                                     CLERK
      402 East State Street
      Trenton , NJ 08608

      RE; Joinder as Plaintiff. Shah v. Maple 3:21-CV-20791-FLW-TJB

      Respected Chief Judge Wolfson

             My name is Dave Marcellus and I am the owner of OMV RV
      Park-located next tb the gas flare and tank battery installed on Mr.
      Pete_r Shah 's property in Sec 8, C -18, PSL Survey ID R000015281 in
      Reeves County, Texas. My property ID is R000027078 .. By t~is letter, I
      would like to add my name as Plaintiff in this matter.

            Respectfully Submitted




            Dave Marcellus



           On October 11th 2022, Mr. Dave Marcellus came to me and
      executed this letter.




                                                           AMY LENAE SALDAN/·-'·-~~-: · ·
                                                         NOTA~ Y !D# 1294316'.:li3 .- . _- ·
                                                        My Comm1ss1on Expires 08-03-25
